     Case 5:98-cr-40107-SAC    Document 307    Filed 11/02/05   Page 1 of 9




            IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF KANSAS




UNITED STATES OF AMERICA,

                              Plaintiff,

      Vs.                                  Case No. 98-40107-06-SAC

JOSE S. RODRIGUEZ,

                              Defendant.


                       MEMORANDUM AND ORDER

            This case comes before the court on defendant’s motion for

relief from judgment or order pursuant to Fed. R. Civ. P. 60(b).

            On April 5, 2000, defendant pleaded guilty to multiple counts

of the superseding indictment. Dk. 115. He was sentenced on May 8,

2001 to a term of 195 months. Dk. 266. Defendant has not filed a direct

appeal or any motion pursuant to § 2255. Instead, defendant filed this
       Case 5:98-cr-40107-SAC      Document 307     Filed 11/02/05    Page 2 of 9




motion on May 2, 2005, pursuant to Fed. R. Civ. P. 60(b)(5) and (6).1

Essentially, defendant argues that, in light of the Supreme Court's recent

sentencing-related decision in United States v. Booker, it would be

inequitable to continue to enforce the judgment of sentence entered against

him.

             Aware of the recent trend to treat motions by federal prisoners

to set aside their convictions on constitutional grounds as § 2255 motions

regardless of the label affixed to the motion, see United States v. Rich, 141

F.3d 550, 551 (5th Cir. 1998), the court first determines whether

defendant’s motion is properly characterized as arising under the civil

procedural rule 60(b). The subsections of Rule 60 invoked by defendant

essentially provide that, on motion and upon such terms as are just, the

court may relieve a party from a final judgment, order, or proceeding if it is

no longer equitable that the judgment should have prospective application,

or if any other reason justifies relief from the operation of the judgment.


       1
        Section 2255 motions are subject to a one-year limitations period.
Motions pursuant to 60(b)(5) or (6) are not subject to any stated statute of
limitations but must be made “within a reasonable time.” Id.

                                           2
      Case 5:98-cr-40107-SAC     Document 307     Filed 11/02/05   Page 3 of 9




             The Supreme Court recently examined Rule 60(b)’s

application in the habeas context in Gonzalez v. Crosby, --- U.S. ----, 125

S. Ct. 2641, 162 L. Ed. 2d 480 (2005). It held that Rule 60(b) remains

viable in the habeas context only to the extent it is "not inconsistent with"

AEDPA and other applicable federal statutory provisions and rules.

Gonzalez, 125 S. Ct. at 2646. The Court specifically anticipated motions,

such as the present one, which might contend that a subsequent change in

substantive law is a "reason justifying relief," Fed. R. Civ. P. 60(b)(6),

from the previous denial of a claim. The Supreme Court stated:

“[v]irtually every Court of Appeals to consider the question has held that

such a pleading, although labeled a Rule 60(b) motion, is in substance a

successive habeas petition and should be treated accordingly.” Gonzalez v.

Crosby, 125 S. Ct. at 2647. The Supreme Court affirmed the correctness

of those holdings, and reasoned: “Likewise, a Rule 60(b) motion based on

a purported change in the substantive law governing the claim could be

used to circumvent § 2244(b)(2)(A)'s dictate that the only new law on

which a successive petition may rely is "a new rule of constitutional law,


                                         3
      Case 5:98-cr-40107-SAC     Document 307   Filed 11/02/05   Page 4 of 9




made retroactive to cases on collateral review by the Supreme Court, that

was previously unavailable." Gonzalez v. Crosby, 125 S. Ct. at 2647

-2648.

             As stated in Dunlap v. Litscher, 301 F.3d 873, 875 (7th

Cir.2002), AEDPA's provisions "bar a district court from using Rule 60(b)

to give a prisoner broader relief from a judgment rendered by the court in

the prisoner's federal habeas corpus (including section 2255) proceeding.

Otherwise AEDPA's limitations on collateral attack would be set at

naught." See Rodwell v. Pepe, 324 F.3d 66, 67 (1st Cir. 2003) (finding it

implausible that Congress "wanted Rule 60(b) to operate under full

throttle in the habeas context.").

             The court is aware that Gonzalez v. Crosby involved a § 2254

action, and that the Supreme Court limited its decision to cases under that

statute. Id., at 2646 n. 3. However, this court is unable to discern any

reason that Gonzalez would be inapplicable to the facts of this case, and

considers the holding in Gonzalez, if not binding, certainly strongly

persuasive authority. See United States v. Scott, 414 F.3d 815 (7th Cir.


                                        4
      Case 5:98-cr-40107-SAC    Document 307     Filed 11/02/05    Page 5 of 9




July 17, 2005)(applying Gonzalez in 2255 proceedings); United States v.

Terrell, 2005 WL 1672122 (11th Cir. July 19, 2005)("Although Gonzalez

addressed a Rule 60(b) motion and decided the issue only under § 2254,

see id. at n. 3, we believe that its holding and rationale apply equally to §

2255.")

            Tenth Circuit precedent is to the same effect in holding that a

defendant cannot utilize Fed. R. Civ. P. 60(b) to seek extraordinary relief

from the final judgment of conviction and circumvent the restrictions of

28 U.S.C. § 2255. Cf, United States v. Lucero; 123 Fed. Appx. 918, 920

(10th Cir. 2005); United States v. Brown, 7 Fed. Appx. 825, 828 (10th

Cir.2001); United States v. Sternberg, 2001 WL 170479, *1-2 (10th Cir.

Feb. 21, 2001) (holding Rule 60(b)(6) motion may not circumvent the

restrictions on filing second or successive petition in a § 2255

proceeding); United States v. Crowell, 182 F.3d 933 (Table) (10th Cir.

Apr 21, 1999); Lopez v. Douglas, 141 F.3d 974, 975 (10th Cir. 1998)

(per curiam) (holding Rule 60(b) motion filed after the dismissal of a

federal petition for habeas corpus should per se be treated as a second or


                                        5
     Case 5:98-cr-40107-SAC    Document 307    Filed 11/02/05   Page 6 of 9




successive habeas petition under AEDPA).

            A Rule 60(b) motion which challenges the constitutionality of

the conviction based on a purported change in the substantive law

governing the claim and which could be used to circumvent the dictates of

§ 2255, is properly construed as a § 2255 motion. See United States v.

White, 124 F.3d 218, 1997 WL 579187, *1 (10th Cir. 1997) (finding no

claim for relief in motion styled as a Fed. R. Civ. P. 60(b) motion, where

defendant sought to vacate the judgment of conviction); United States v.

Al-Amin, 176 F.3d 489, 1999 WL 215373, *2 (10th Cir. 1999) (affirming

district court’s construction of a Rule 60 motion as one brought pursuant

to 28 U.S.C. § 2255); United States v. Canedo, 2005 WL 2175160, *2

(D. Kan. 2005) (construing Rule 60 motion as § 2255 motion because of

the nature of the motion); United States v. Gottlieb, 211 F.R.D. 656 (D.

Kan. 2003) (holding defendant cannot seek to circumvent the statute of

limitations of habeas relief by disguising his motion under Rule 60(b); no

need to give defendant opportunity to re-file or cure where defendant is

time-barred from direct and collateral appeals).


                                       6
      Case 5:98-cr-40107-SAC      Document 307      Filed 11/02/05   Page 7 of 9




             The court therefore examines whether defendant’s motion

complies with or contravenes the limitations governing § 2255 motions.

As amended by the Antiterrorism and Effective Death Penalty Act

(“AEDPA”), 28 U.S.C. § 2255 establishes a one-year limitations period

for federal prisoners to file § 2255 motions.2 United States v. Hurst, 322

F.3d 1256, 1259 (10th Cir. 2003). Such motions must be filed within one

year of the date the judgment becomes final. Where, as here, a defendant

does not pursue a timely appeal to the court of appeals, the conviction and

sentence become final and the one-year limitations period begins running

upon the expiration of the time for filing the appeal. Kapral v. United

States, 166 F.3d 565, 577 (3d Cir. 1999). The defendant filed this § 2255

motion nearly four years after the time expired for filing his direct appeal,

and he does not advance any allegations that would warrant the application


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        The relevant portions of § 2255[¶ 6] state:
"The limitation period shall run from the latest of--
(1) the date on which the judgment of conviction becomes final;
....
(3) the date on which the right asserted was initially recognized by the Supreme
Court, if that right has been newly recognized by the Supreme Court and made
retroactively applicable to cases on collateral review.”


                                           7
     Case 5:98-cr-40107-SAC     Document 307     Filed 11/02/05   Page 8 of 9




of equitable tolling in this case. See Gibson v. Klinger, 232 F.3d 799, 808

(10th Cir. 2000) (equitable tolling of statute permitted in only rare and

exceptional circumstances).

             Nor could defendant’s petition be deemed timely filed within

one year of "the date on which the right was initially recognized by the

Supreme Court," which right has been “made retroactively applicable to

cases on collateral review." 28 U.S.C. § 2255 [¶ 6](3). The right claimed

by defendant arises out of United States v. Booker, 543 U.S. ----, 125 S.

Ct. 738, 748, 160 L. Ed. 2d 621 (2005), which applied Blakely v.

Washington, 542 U.S. 296 (2004), to invalidate the federal sentencing

guidelines insofar as they were mandatory. But the Tenth Circuit has held

that the principles of Blakely and Booker do not apply retroactively to

cases which were final at the time those decisions were issued. United

States v. Bellamy, 411 F.3d 1182, 2005 WL 1406176 (10th Cir. 2005)

(Booker ); United States v. Price, 400 F.3d 844, 849 (10th Cir. 2005)

(Blakely). Defendant’s case was final at the time those decisions were

rendered, foreclosing this avenue of relief. No other provisions are


                                        8
      Case 5:98-cr-40107-SAC      Document 307     Filed 11/02/05   Page 9 of 9




arguably applicable to this case.

             Defendant’s motion attacks the legality of his sentence and

could be used to circumvent the limitations which would have barred him

from bringing this motion pursuant to § 2255. Accordingly, and for all the

reasons set forth above, the court construes defendant's motion as one

pursuant to 28 U.S.C. § 2255 despite its characterization as one arising

under Rule 60(b),3 and finds it to be untimely under AEDPA.

             IT IS THEREFORE ORDERED that defendant’s motion for

relief from judgment is construed to be a motion pursuant to 28 U.S.C. §

2255, and is denied as untimely.

             Dated this 1st day of November, 2005, Topeka, Kansas.

                                 s/ Sam A. Crow
                                 Sam A. Crow, U.S. District Senior Judge




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        Had the court analyzed defendant’s motion under traditional 60(b) analysis,
the result would have been no different, as no extraordinary circumstances
warranting relief have been shown. See United States v. 31.63 Acres of Land, 840
F.2d 760, 761 (10th Cir. 1988).




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